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   15 Successor In Interest for Kevin R. Niedzialek, Deceased
   16
                            UNITED STATES DISTRICT COURT
   17
              CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
   18
   19
      TRACY ALVES, Individually and as               Case No. 5:19-CV-02083-JGB (SHKx)
   20 Successor in Interest for KEVIN R.
      NIEDZIALEK, deceased,                          [Hon. Jesus G. Bernal; Magistrate Judge Shashi
   21                                                H. Kewalramani]
                           Plaintiff,
   22
                        vs.                          PLAINTIFF’S MEMORANDUM OF
   23                                                CONTENTIONS OF FACT AND
      RIVERSIDE COUNTY, RIVERSIDE                    LAW
   24 COUNTY SHERIFF’S
      DEPARTMENT, SHERIFF-
   25 CORONER CHAD BIANCO,
      DEPUTY SONIA GOMEZ, DEPUTY                     PTC: August 23, 2021
   26 BRIAN KEENEY, and DOES 3–10,                   Trial: September 14, 2021
   27
                          Defendants.
   28

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     1
         I.     SUMMARY OF FACTUAL CONTENTIONS
     2
              A. The Deputies Respond to a Call for Service
     3          Mid-afternoon on July 29, 2019, Deputies Sonia Gomez and Brian Keeney were
     4 dispatched to an apartment complex in response to 911 calls reporting a psychiatric
     5 emergency. An injured man was pounding on doors and screaming for help. The
     6 deputies saw Kevin Niedzialek seated in an alcove with a bloody head wound.
     7 Niedzialek was agitated and incoherent. The deputies had been trained that head
     8 trauma can cause irrational behavior and that agitation can indicate drug use, mental
     9 illness, and excited delirium, which can be a life-threatening condition when not
   10 managed properly, and puts the person at higher risk of in-custody death when police
   11 restraint procedures interfere with breathing.
   12           Keeney attempted to speak to Niedzialek, who responded nonverbally and
   13 incoherently. Niedzialek then stood up and advanced towards Keeney but stopped
   14 short of making physical contact. His hands remained at his sides. Gomez fired a Taser
   15 at Niedzialek, causing him to fall face first. Niedzialek sat up, continuing to display
   16 agitated, irrational behavior. Gomez ordered Niedzialek to put his hands behind his
   17 back and lie down. Niedzialek complied, but lied down on his back rather than his
   18 chest. When Gomez instructed Niedzialek to roll over, he instead stood up and took a
   19 few quick steps towards Keeney with his hands at his side. Gomez activated her Taser,
   20 causing Niedzialek to fall face forward and land hard on the ground, knocking the wind
   21 out of him.
   22           Keeney grabbed Niedzialek’s left wrist and placed his knee on Niedzialek’s
   23 midback while extending his leg towards Niedzialek’s buttocks. Gomez quickly
   24 handcuffed Niedzialek with Keeney’s assistance. Throughout the handcuffing,
   25 Niedzialek flailed his legs but did not kick either deputy.
   26
   27
   28

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     1      B. The Deputies Use Excessive and Unreasonable Force Against a
               Compliant Niedzialek
     2
              After handcuffing, the deputies continued to push down on Niedzialek’s back,
     3 holding him prone against the ground instead of following standard law-enforcement
     4 practice by rolling him onto his side to breathe. According to Gomez, the only crimes
     5 Niedzialek might have committed were disturbing the peace and resisting (arrest).
     6 Niedzialek attempted to roll onto his left side to alleviate the pressure on his chest so
     7 that he could breathe. The deputies rolled him back onto his chest. Niedzialek
     8 exclaimed, “Stop,” “I need help” twice, and subsequently said, “Get off” or “Get these
    9 off.” Despite Niedzialek’s pleas for help, the deputies continued to push down on
   10 Niedzialek’s back.
   11         Forty-five seconds after handcuffing, Niedzialek stopped making sounds and
   12
         became still. Despite this, the deputies continued to push down on Niedzialek’s back,
   13 holding him prone for another four minutes. Gomez used her right hand to
   14 continuously apply pressure to Niedzialek’s mid-back and restricted his torso from
   15 moving. About 1 minute and 45 seconds after handcuffing, Keeney whispered, “He’s
   16 falling asleep.” Even though Niedzialek was unresponsive, the deputies continued to
   17 hold him prone against the ground.
   18      Two minutes and 23 seconds after the handcuffing, Deputy Bowman arrived to
   19 help and was directed by Gomez to clear the incident apartment. Approximately eight
   20 seconds later, Keeney finally removed his knee of Niedzialek’s back. Three minutes and
   21 9 seconds after the handcuffing, Gomez attempted to elicit a response from Niedzialek
   22
      by asking for his name but Niedzialek did not respond.
   23       Four minutes and 40 seconds after handcuffing, Keeney attempted to ascertain
   24 whether Niedzialek was breathing. When he saw no signs of life, he tapped Niedzialek
   25 a few times while telling Gomez to turn Niedzialek over.
   26
              When Niedzialek was turned onto his back, video shows his pupils to be fixed
   27 and dilated. He was not breathing, and he was not responsive. Gomez checked for a
   28

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     1 pulse. After announcing that she did not detect one, a few seconds later she claimed to
     2 feel a “very low” pulse. Niedzialek obviously had no pulse when he was rolled over.
     3        One minute and 40 seconds later, paramedic Lisa La Russo and EMT Jesus
     4 Raygoza arrived. La Russo observed that Niedzialek had agonal respiration and no
     5 pulse. She requested Keeney’s assistance in performing CPR. She also applied a heart
     6 monitor to Niedzialek, which showed that Niedzialek had pulseless electrical activity
     7 (“PEA”). PEA is consistent with asphyxia. The only plausible cause for PEA in this
     8 case is low oxygen levels, secondary to restraint/compression asphyxia. Despite
     9 toxicology reports showing that Niedzialek had methamphetamine in his system at the
   10 time of the incident, methamphetamine was not a plausible cause for Niedzialek’s
   11 cardiac arrest because even at lethal levels, methamphetamine toxicity does not cause
   12 PEA but rather ventricular fibrillation (VF) or ventricular tachycardia (VT). Moreover,
   13 there is no evidence to support that the relatively low level of methamphetamine in
   14 Niedzialek’s blood, significantly less than what is commonly found in recreational
   15 users, could be a plausible cause of Niedzialek’s death.
   16         Niedzialek was in a state of high oxygen demand due to the drug use, injuries to
   17 his face and head, Taser applications, and confrontation with the deputies. His oxygen
   18 supply was compromised due to his being on his chest, with both deputies applying
   19 compressive force to his back. Compression of the neck, chest, and abdomen during
   20 physical restraint is a well-recognized mechanism for causing asphyxiation.
   21 Compression asphyxia does not require the application of too much weight to occur, it
   22 can result from the subject’s inability to breathe due to something preventing the
   23 subject from moving their diaphragm and breathing normally. Thus, the combination
   24 of the restraint asphyxia and Niedzialek’s heightened oxygen requirement caused
   25 hypoxia and the subsequent PEA cardiac arrest.
   26         Niedzialek being held prone, chest down, without being placed into a recovery
   27 position caused his cardiac arrest. It is highly likely cardiac arrest occurred when
   28 Niedzialek stopped moving less than a minute after handcuffing, and around the time

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     1 that Keeney said “I think he’s falling asleep.” Subsequent breaths were agonal.
     2 Niedzialek’s death was a result of the aggressive restraint tactics by the deputies
     3 resulting in asphyxia, with a contributing factor being the lack of timely resuscitation.
     4 Had the deputies placed Niedzialek into a recovery position after handcuffing, the
     5 cardiac arrest would not have occurred and subsequently neither would the anoxic
     6 brain injury. Had the deputies commenced CPR much earlier, Niedzialek’s anoxic brain
     7 injury would have been minimized and he would have more likely than not survived the
     8 encounter with the deputies.
     9      C. The County’s Custom, Practices, Policies and Training, and Sheriff
               Bianco’s Reckless Indifference Were Moving Forces Behind This
   10          Avoidable Death.
   11          As evidence at the trial of Derek Chauvin demonstrated, holding persons prone

   12 impairs their ability to breathe and can cause them to asphyxiate. Officers in California
   13 are trained, according to California Peace Officers Standards and Training (POST), that
   14 body positioning can lead to inadequate breathing and potential asphyxia. POST
   15 instructs officers that if a person has a pulse, is breathing, but is unconscious, the
   16 person should be placed into a recovery position (on their side) to aid in breathing.
   17       Contrary to generally accepted police practices and POST training, Riverside

   18 County Sheriff’s Department claims that it instructs deputies that being held in the
   19 prone position does not interfere with breathing and that the safest way to restrain a
   20 handcuffed person is prone. The deputies are further trained to maintain pressure on a
   21 handcuffed, safely restrained and prone subject’s back to make sure the subject does
   22 not “pop up.” Sheriff Bianco, despite being aware of RCSD’s contrarian training and
   23 practices through his membership in the International Association of Chiefs of Police
   24 and his use of Lexipol in consolidating the department’s manual, was recklessly
   25 indifferent to RCSD’s unconstitutional practice and inadequate training on the subject.
   26 II.      PLAINTIFF’S CLAIMS
               A. Claim 1: Fourth Amendment—Excessive Force
   27
               Plaintiff brings this claim against Defendant Deputies Brian Keeney and Sonia
   28

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     1 Gomez. Plaintiff contends that Defendant Deputies used excessive force against
     2 decedent Kevin Niedzialek in violation of his Fourth Amendment rights and 42 U.S.C.
     3 § 1983. A constitutional claim for excessive force is evaluated through the Fourth
     4 Amendment’s reasonableness standard, considering “whether the officers’ actions
     5 [we]re ‘objectionably reasonable’ in light of the facts and circumstances confronting
     6 them.” Graham v. Connor, 490 U.S. 386, 397 (1989). The “nature and quality of the
     7 intrusion” is weighed against the “countervailing governmental interests at stake.” Id. at
     8 396. Government interest factors to balance against the type of force used include “(1)
     9 the severity of the crime at issue, (2) whether the suspect poses an immediate threat to
   10 the safety of the officers or others, and (3) whether he is actively resisting arrest or
   11 attempting to evade arrest by flight.” Id. Even where some force is justified, the amount
   12 actually used may be excessive. Santos v. Gates, 287 F.3d 846, 853-54 (9th Cir. 2002).
   13 Plaintiff seeks survival damages, punitive damages, and attorneys’ fees under this claim.
   14          Elements:
   15          1.    Deputy Keeney and Deputy Gomez acted under color of law;
   16          2.    Deputy Keeney and/or Deputy Gomez used excessive force against
   17                Kevin Niedzialek;
   18          3.    The excessive force caused injury, damage, loss, or harm to Kevin
   19                Niedzialek.
   20          See Ninth Circuit Manual of Model Jury Civil Instructions, No. 9.25.
   21      B. Claim 2: Fourth and Fourteenth Amendments—Denial of Medical Care
   22          Plaintiff brings this claim against Defendants Deputy Keeney and Deputy

   23 Gomez. Plaintiff contends that Deputy Keeney and Deputy Gomez denied decedent
   24 Kevin Niedzialek reasonable post-handcuffing medical care even though they knew or
   25 had notice of Mr. Niedzialek’s serious need for medical care. Plaintiff contends that
   26 among other things the deputies failed to clear his airway so that Niedzialek could
   27 breathe freely, and failed to timely commence CPR after asphyxiating him. “The
   28 Fourth Amendment requires law enforcement officers to provide objectively

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     1 reasonable post-arrest care to an apprehended suspect.” Tatum v. City & Cty. of San
     2 Francisco, 441 F.3d 1090, 1099 (9th Cir. 2006). This is an objective test, based on the
     3 totality of the circumstances. Relevant factors when evaluating the reasonableness of
     4 post-care arrest include the promptness of the care, the seriousness of the medical
     5 need, and whether the officers had knowledge or notice of the medical need. Purnell v.
     6 City of Sunnyvale Police Dep’t, 5:18-cv-02113-EJD, 2019 WL 587287, at *2 (N.D. Cal. Feb.
     7 13, 2019). Plaintiff seeks survival damages, punitive damages, and attorneys’ fees under
     8 this claim. Plaintiff also brings this claim under the Fourteenth Amendment.
     9         Elements:
   10          1.    Deputy Keeney and/or Deputy Gomez made an intentional decision
   11                regarding the denial of needed medical care;
   12          2.    The denial of medical care put Kevin Niedzialek at a substantial risk of
   13                suffering serious harm;
   14          3.    Deputy Keeney and/or Deputy Gomez did not take reasonable available
   15                measures to abate or reduce the risk of serious harm, even though a
   16                reasonable officer under the circumstances would have understood the
   17                high degree of risk involved—making the consequences of deputie(s)’
   18                conduct obvious; and
   19          4.    By not taking such measures, Deputy Keeney and/or Deputy Gomez
   20                caused Kevin Niedzialek’s injuries.
   21 See Ninth Circuit Manual of Model Jury Civil Instructions No. 9.30 PARTICULAR
   22 RIGHTS—FOURTEENTH AMENDMENT—PRETRIAL DETAINEE’S CLAIM RE
   23 CONDITIONS OF CONFINEMENT/MEDICAL CARE.
   24      C. Claim 3: Fourteenth Amendment—State Created Danger
   25          Plaintiff brings this claim against Defendants Deputy Keeney and Deputy

   26 Gomez. Plaintiff contends Deputy Keeney and Deputy Gomez affirmatively placed
   27 Mr. Niedzialek in a position of danger and exposed Mr. Niedzialek to a foreseeable
   28 danger he would not have otherwise faced by handcuffing him behind his back and

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     1 then holding him prone so that he could not breathe freely. Government employees are
     2 liable for harm inflicted by third parties when the employees “affirmatively place[] the
     3 plaintiff in a position of danger, that is, where [their] action[s] create[] or expose[] an
     4 individual to danger which he or she would not have otherwise faced.” Kennedy v. City of
     5 Ridgefield, 439 F.3d 1055, 1061 (9th Cir. 2006) (internal quotation marks omitted). The
     6 affirmative act must create an actual, particularized danger, and the ultimate injury must
     7 be foreseeable. Hernandez v. City of San Jose, 897 F.3d 1125, 1133 (9th Cir. 2018) (internal
     8 citations omitted). “The employees must have acted with ‘deliberate indifference’ to a
     9 ‘known or obvious danger.’” Id. (quoting Patel v. Kent Sch. Dist., 648 F.3d 965, 974 (9th
   10 Cir. 2011)).
   11          “In examining whether an officer affirmatively places an individual in danger,
   12 [the Court] does not look solely to the agency of the individual . . . [or] what options
   13 may or may not have been available to” him. Hernandez, 897 F.3d at 1133 (quoting
   14 Munger v. City of Glasgow Police Dep’t, 227 F.3d 1082, 1986 (9th Cir. 2000)). “Instead, [the
   15 Court] examine[s] whether the officers left the person in a situation that was more
   16 dangerous than the one in which they found him.” Id. “[T]he critical distinction for
   17 finding liability is not between danger creation and enhancement, but . . . between state
   18 action and inaction in placing an individual at risk.” Id. at 1135 (quoting Penilla v. City of
   19 Huntington Park, 115 F.3d 707, 710 (9th Cir. 1997).
   20          Plaintiff seeks survival damages, punitive damages, and attorneys’ fees under this
   21 claim.
   22          Elements:
   23          1.     Deputy Keeney and/or Deputy Gomez committed an affirmative act;
   24          2.     The affirmative act placed Kevin Niedzialek in a position of actual,
   25                 particularized danger by creating or exposing Kevin Niedzialek to a
   26                 danger that he would not have otherwise faced;
   27          3.     Deputy Keeney and/or Deputy Gomez acted with deliberate indifference
   28                 to a known or obvious danger; and

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     1        4.     The affirmative act that created the actual, particularized danger caused
     2               injury to Kevin Niedzialek that was foreseeable.
     3 See Ninth Circuit Manual of Model Jury Civil Instructions No. 9.33B PARTICULAR
       RIGHTS—FOURTEENTH AMENDMENT—DUE PROCESS—STATE-
     4 CREATED DANGER.
     5     D. Claim 4: Municipal Liability Based on Policy, Custom, or Practice
     6        Plaintiff brings this claim against defendants County of Riverside and Riverside

     7 Sheriff’s Department. Plaintiff contends these defendants had a policy, custom, or
     8 practice of holding or leaving handcuffed people on their chest, a widely recognized
    9 cause of asphyxiation.
   10       “Under Monell, a local government body can be held liable . . . for policies of

   11 inaction as well as policies of action.” Jackson v. Barnes, 749 F.3d 755, 763 (9th Cir.
   12 2004). “[A] policy of inaction is based on a government body’s failure to implement
   13 procedural safeguards to prevent constitutional violations.” Id. (citations and quotation
   14 marks omitted). This requires a showing that the (1) “policy amounts to deliberate
   15 indifference to the plaintiff’s constitutional right” and (2) defendant “was on actual or
   16 constructive notice that its omission would likely result in a constitutional violation.”
   17 Tsao v. Desert Palace, Inc., 698 F.3d 1128, 1143-45 (9th Cir. 2012) (citations omitted).
   18 “When a county continues to turn a blind eye to severe violations of . . . constitutional
   19 rights — despite having received notice of such violations — a rational fact finder may
   20 properly infer the existence of a previous policy or custom of deliberate
   21 indifference.” Henry v. Cty. of Shasta, 132 F.3d 512, 519 (9th Cir. 1997).
   22        Plaintiff seeks compensatory damages and attorney fees under this claim.

   23         Elements:

   24         1.     Deputy Keeney and/or Deputy Gomez acted under color of state law;

   25         2.     The acts of Deputy Keeney and/or Deputy Gomez deprived Kevin

   26                Niedzialek of his particular rights under the United States Constitution;

   27         3.     Deputy Keeney and/or Deputy Gomez acted pursuant to an expressly

   28                adopted official policy or widespread or longstanding practice of custom

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  1                of defendants County of Riverside and Riverside County Sheriff’s
  2                Department; and
  3          4.    The County of Riverside’s and Riverside County Sheriff Department’s
  4                official policy or widespread or longstanding practice or custom caused
  5                the deprivation of Kevin Niedzialek’s rights; that is, that these defendants’
  6                official policy or widespread or longstanding practice or custom is so
  7                closely related to the deprivation of the Kevin Niedzialek’s rights as to be
  8                the moving force that caused the ultimate injury.
  9 See Ninth Circuit Manual of Model Jury Civil Instructions No. 9.5. SECTION 1983
 10 CLAIM AGAINST LOCAL GOVERNING BODY DEFENDANTS BASED ON
 11 OFFICIAL POLICY, PRACTICE, OR CUSTOM THAT VIOLATES LAW OR
 12 DIRECTS EMPLOYEE TO VIOLATE LAW—ELEMENTS AND BURDEN OF
 13 PROOF.
 14      E. Claim 5: Municipal Liability Based on Inadequate Training
 15          Plaintiff brings this claim against defendants County of Riverside and the

 16 Riverside County Sheriff’s Department. “A plaintiff . . . might succeed in proving a
 17 failure-to-train claim without showing a pattern of constitutional violations ‘where a
 18 violation of rights may be a highly predictable consequence of a failure to equip law
 19 enforcement officers with specific tools to handle recurring situations.’” Long v. Cty of
 20 Los Angeles, 442 F.3d 1178, 1186 (9th Cir. 2006) (quoting Board of Cty. Comm’rs v. Brown,
 21 520 U.S. 397, 409 (1997)); see City of Canton v. Harris, 498 U.S. 378, 390 n.10 (1989)
 22 (providing an example of an “obvious” case where a single constitutional violation,
 23 accompanied by a correlating failure to train is sufficient to be actionable under section
 24 1983).
 25          Elements:

 26          1.    The acts or failure to act of Deputy Keeney and/or Deputy Gomez

 27                deprived Kevin Niedzialek of his particular rights under the United States

 28                Constitution

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  1          2.     Deputy Keeney and/or Deputy Gomez acted under color of state law;
  2          3.     The training policies of defendants County of Riverside and Riverside
  3                 County Sheriff’s Department were not adequate to train its police officers
  4                 to handle the usual and recurring situations with which they must deal;
  5          4.     The County of Riverside and the Sheriff’s Department were deliberately
  6                 indifferent to the known or obvious consequences of their failure to train
  7                 deputies adequately; and
  8          5.     The failure of the County of Riverside and the Sheriff’s Department to
  9                 provide adequate training caused the deprivation of Kevin Niedzialek’s
 10                 rights; that is, the defendants’ failure to train played a substantial part in
 11                 bringing about or actually causing the injury or damage to Kevin
 12                 Niedzialek.
 13 See Ninth Circuit Manual of Model Jury Civil Instructions No. 9.8. SECTION 1983
 14 CLAIM AGAINST LOCAL GOVERNING BODY DEFENDANTS
 15 BASED ON FAILURE TO PREVENT VIOLATIONS OF LAW OR A FAILURE
 16 TO TRAIN—ELEMENTS AND BURDEN OF PROOF.
 17      F. Claim 6: Municipal Liability Based on Ratification
 18          Plaintiff brings this claim against defendants County of Riverside and Riverside

 19 County Sheriff’s Department. Liability under a section 1983 Monell claim may attach
 20 when a final policymaker ratifies a subordinate’s unconstitutional action and the basis
 21 for it. Christie v. Iopa, 176 F.3d 1231, 1239 (9th Cir. 1999); see generally Monell v. Dep’t of
 22 Soc. Servs., 436 U.S. 658 (1978). To show ratification, a plaintiff must prove that
 23 “authorized policymakers approve a subordinate’s decision and the basis for it.”
 24 Christie, 176 F.3d at 1239 (quoting City of St. Louis v. Praprotnik, 485 U.S. 112, 127 (1988)
 25 (plurality)); see also Lytle v. Carl, 382 F.3d 978, 987-88 (9th Cir. 2004) (“[R]atification
 26 requires both knowledge of the alleged constitutional violation, and proof that the
 27 policymaker specifically approved of the subordinate’s act.”); Ulrich v. City and County of
 28 San Francisco, 308 F.3d 968, 985 (9th Cir. 2002). Plaintiff seeks compensatory damages

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  1 and attorney fees under this claim.
  2         Elements:
  3         1. Deputies Keeney and Gomez acted under color of state law;
  4         2. the acts and failures to act of Deputies Keeney and Gomez deprived Kevin
  5         Niedzialek of his particular rights under the United States Constitution as
  6         explained in later instructions;
  7         3. Sheriff-Coroner Chad Bianco acted under color of state law;
  8         4. Sheriff-Coroner Chad Bianco had final policymaking authority from
  9         defendant County of Riverside concerning the acts and failures to act of
 10         Deputies Keeney and Gomez; and
 11         5. Sheriff-Coroner Chad Bianco ratified the acts and failures to act of Deputies
 12 Keeney and Gomez; that is, Sheriff-Coroner Bianco knew of and specifically made a
 13 deliberate choice to approve the acts and failures to act and the bases for these.
 14 See Ninth Circuit Manual of Model Jury Civil Instructions No. 9.7 SECTION 1983
 15 CLAIM AGAINST LOCAL GOVERNING BODY DEFENDANTS BASED ON
 16 RATIFICATION—ELEMENTS AND BURDEN OF PROOF.
 17      G. Claim 7: Supervisory Liability
 18         Plaintiff brings this claim against defendant Sheriff Chad Bianco. “Supervisory

 19 liability is imposed against a supervisory official in his individual capacity for his own
 20 culpable action or inaction in the training, supervision, or control of his subordinates;
 21 for his acquiescence in the constitutional deprivations of which the complaint is made;
 22 or for conduct showing a reckless or callous indifference to the rights of others.” Larez
 23 v. City of Los Angeles, 946 F.2d 630, 646 (9th Cir. 1991) (citations omitted). Plaintiff
 24 seeks compensatory damages, punitive damages, and attorney fees under this claim.
 25         Elements:

 26         1.     Sheriff Bianco acted under color of state law;

 27
 28

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  1          2.     The acts and failures to act of Sheriff Bianco’s subordinates deprived
  2                 Kevin Niedzialek of his particular rights under the United States
  3                 Constitution;
  4          3.     Sheriff Bianco disregarded the known or obvious consequence that a
  5                 particular training deficiency or omission would cause his subordinates to
  6                 violate the Kevin Niedzialek’s constitutional rights;
  7          4.     The deficiency or omission actually caused his subordinates to deprive
  8                 Kevin Niedzialek of his constitutional rights; and
  9          5.     Sheriff Bianco’s conduct was so closely related to the deprivation of

 10                 Kevin Niedzialek’s rights as to be the moving force that caused the

 11                 ultimate injury.

 12 See Ninth Circuit Manual of Model Jury Civil Instructions No. 9.4, SECTION 1983
 13 CLAIM AGAINST SUPERVISORY DEFENDANT IN INDIVIDUAL
 14 CAPACITY—ELEMENTS AND BURDEN OF PROOF.
 15      H. Claim 8: Violation of California Civil Code section 52.1 (Bane Act)
             Plaintiff brings this claim against all defendants. A claim under the Bane Act
 16
      requires a plaintiff to show that the defendant acted with a specific intent to violate the
 17
      plaintiff or decedent’s civil rights. B.B. v. Cty. of Los Angeles, 25 Cal. App. 5th 115, 133
 18
      (2018) (citing Reese v. Cnty. of Sacramento, 888 F.3d 1030, 1043 (9th Cir. 2018) (“‘[A]
 19
      reckless disregard for a person’s constitutional rights is evidence of specific intent to
 20
      deprive that person of those rights.’” Reese, 888 F.3d at 1045 (quoting United States v.
 21
      Reese, 2 F.3d 870, 885 (9th Cir. 1993). Plaintiff seeks survival damages, punitive
 22
      damages, and attorney fees under this claim.
 23
             Elements:
 24
             1.     Deputy Keeney and/or Deputy Gomez interfered, by threats,
 25
                    intimidation, or coercion, with Kevin Niedzialek’s right to be free from
 26
                    unreasonable force;
 27
             2.     Deputy Keeney and/or Deputy Gomez injured Kevin Niedzialek in
 28

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  1                 violation of his right to be free from unreasonable force;
  2          3.     Kevin Niedzialek was harmed; and
  3          4.     Deputy Keeney and/or Deputy Gomez’s conduct was a substantial factor
  4                 in causing Kevin Niedzialek’s harm.
  5          Source: BAJI 7.90.
  6      I. Claim 9: State Law Battery
  7          Plaintiff brings this claim against defendants Deputy Keeney and Deputy

  8 Gomez. The County of Riverside is vicariously liable for the deputies’ conduct. Cal.
  9 Gov’t. Code § 815.2. Under California law, a battery claim arising out of excessive force
 10 by a peace officer is evaluated by way of traditional Fourth Amendment analysis under
 11 Graham. See Munoz v. City of Union City, 120 Cal. App. 4th 1077 (2004). Plaintiff seeks
 12 compensatory and punitive damages under this claim.
 13      Elements:

 14          1.     Deputy Keeney and/or Deputy Gomez intentionally touched the

 15                 decedent or caused Kevin Niedzialek to be touched;

 16          2.     Deputy Keeney and/or Deputy Gomez used unreasonable force or

 17                 restraint against Kevin Niedzialek;

 18          3.     Kevin Niedzialek did not consent to the use of that force or restraint;

 19          4.     Kevin Niedzialek was harmed; and

 20          5.     Deputy Keeney and/or Deputy Gomez’s use of unreasonable force or

 21                 restraint was a substantial factor in causing Kevin Niedzialek’s harm.

 22          Source: CACI 1305.

 23      J. Claim 10: State Law Negligence
             Plaintiff brings this claim against defendants Deputy Keeney and Deputy
 24
      Gomez. The County of Riverside is vicariously liable for the deputies’ conduct.
 25
      “California negligence law regarding the use of . . . force overall is broader than federal
 26
      Fourth Amendment law.” Tabares v. City of Huntington Beach, 988 F.3d 1119, 1125 (9th
 27
      Cir. 2021) (citing Villegas ex rel. C.V. v. City of Anaheim, 828 F.3d 1252, 1257 n.6 (9th
 28

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  1 Cir. 2016). While California law generally considers federal Fourth Amendment factors
  2 when assessing an officer’s tactical conduct at the time of the use of force, California
  3 negligence also encompasses pre-force tactics and decisions. Id. at 1125, 1126. “Under
  4 California law, the officer’s pre-[force] decisions can render his behavior unreasonable
  5 under the totality of the circumstances, even if his use of [] force at the moment . . .
  6 might be reasonable in isolation.” Id. at 1125. Plaintiff seeks compensatory damages
  7 under this claim.
  8         Elements:
  9         1.     Deputy Keeney and/or Deputy Gomez owed Kevin Niedzialek a duty of
 10                care;
 11         2.     Deputy Keeney and/or Deputy Gomez breached that duty by failing to
 12                exercise ordinary care of a law enforcement officer under the
 13                circumstance;
 14         3.     Kevin Niedzialek was harmed; and
 15         4.     Deputy Keeney and/or Deputy Gomez negligence was a substantial
 16                factor in causing Kevin Niedzialek’s harm.
 17         Source: CACI 400.
 18     K. Plaintiff’s Key Evidence
 19     1. Video from body-worn camera of Deputy Sonia Gomez;

 20     2. Composite video from percipient witness’s cell phone and Deputy Gomez’s

 21         body-worn camera;

 22     3. Testimonies from percipient witnesses;

 23     4. Opinions of plaintiff’s expert witnesses;

 24     5. Photographs of the incident scene;

 25     6. Photographs of decedent;

 26     7. Forensic evidence, including AMR patient care report;

 27     8. Testimony of defendants;

 28     9. Law-enforcement training materials and issued guidelines, including California

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  1           Peace Officer Standards and Training (POST);
  2        10. Testimony from plaintiff’s damages witnesses.
  3 III.      ANTICIPATED EVIDENTIARY ISSUES
  4           Plaintiffs have filed the following motions in limine:

  5           1.     Plaintiff’s Motion in Limine No. 1 to Exclude Testimony by Defendants’

  6                  Expert James Borden; and

  7           2.     Plaintiff’s Motion in Limine No. 2 to Exclude Defendants’ Expert Rod

  8                  Englert and the “Incident Reconstruction Timeline.”

  9 IV.       ANTICIPATED ISSUES OF LAW
              Plaintiff currently does not anticipate any issues of law.
 10
      V.      BIFURCATION
 11
              Plaintiff opposes bifurcation.
 12
      VI.     JURY TRIAL
 13           The issues herein are triable to a jury as a matter of right. The parties made
 14 timely demands for trial by jury.
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  1 VII. ATTORNEYS’ FEES
  2      If Plaintiff prevails at trial, she is entitled to attorneys’ fees under 42 U.S.C.

  3 § 1988, Hensley v. Eckerhart, 461 U.S. 424, 429 (1983), and under state law pursuant to
  4 California Civil Code §§ 52.1, and 1021, et seq.
  5 VIII. ABANDONMENT OF ISSUES
          Plaintiff has not abandoned any issues.
  6
  7
      DATED: August 2, 2021                  LAW OFFICES OF DALE K. GALIPO
  8                                          THE LAW OFFICES OF JOHN BURTON
  9                                          HELM LAW OFFICE, PC
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 11
                                             B
 12                                          y                /s/ John Burton
 13                                          Dale K. Galipo
                                             John Burton
 14                                          T. Kennedy Helm, IV
                                             Hang D. Le
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                                             Attorneys for Plaintiff TRACY ALVES
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